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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                         8:17CR86

        vs.
                                                                           ORDER
LEELABAHEN M. CHAUDHARI,

                       Defendant.


        This matter is before the court on defendant's MOTION TO CONTINUE THE DATE FOR
FILING MOTIONS [34]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 30-day extension. Pretrial Motions shall be filed by June 16,
2017.


        IT IS ORDERED:
        1.     Defendant's MOTION TO CONTINUE THE DATE FOR FILING MOTIONS [34] is
granted. Pretrial motions shall be filed on or before June 16, 2017.
        2.     Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and
NE. Crim. R. 12.1 forthwith.
        3.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and June 16, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        Dated this 10th day of May, 2017.

                                                       BY THE COURT:

                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
